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19

20
                                       UNITED STATES DISTRICT COURT
21
                     NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
22
     STACIA STINER, et al.,                            Case No. 4:17-CV-03962-HSG (LB)
23
                      Plaintiffs,                       DECLARATION OF SHELDON H.
24                                                      JACOBSON, PH.D. IN SUPPORT OF
            v.                                          DEFENDANTS’ OPPOSITION TO
25                                                      PLAINTIFFS’ MOTION FOR CLASS
     BROOKDALE SENIOR LIVING INC. et al.,               CERTIFICATION
26
                      Defendants.                      DATE: JUNE 16, 2022
27
                                                       TIME: 2:00 P.M.
28
       DECLARATION OF SHELDON JACOBSON IN SUPPORT OF OPP TO PLAINTIFFS’ MTN FOR CLASS CERT /
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 1                                      DECLARATION OF SHELDON H. JACOBSON, PH.D.
 2                   1.       I, Sheldon H. Jacobson, declare as follows:
 3                   2.       I am over the age of 18 and I am competent to testify to the matters stated in this
 4   declaration. If called and sworn as a witness, I can and will testify based on my personal knowledge to
 5   those matters set forth below.
 6                   3.       The declaration contains eight (8) sections. A list of these sections and the corresponding
 7   page numbers are set forth in the Table of Contents immediately below:
 8   I.        INTRODUCTION ............................................................................................................................ 3

 9   II.       QUALIFICATIONS ........................................................................................................................ 3
     III. BACKGROUND OF LITIGATION .............................................................................................. 5
10
     IV. BACKGROUND OF DES MODELING ....................................................................................... 6
11   V.        INFORMATION CONSIDERED IN FORMING MY OPINIONS............................................ 7
12   VI. SUMMARY OF OPINIONS ........................................................................................................... 7
13   VII. OPINIONS ....................................................................................................................................... 8
          A.    Opinion 1: Mr. Schroyer Did Not Follow the Accepted Steps in a DES Study, Thereby
14
          Resulting in Unreliable Conclusions ................................................................................................... 8
15             i.   Mr. Schroyer Improperly Relied on Flawed Inputs Received from Dr. Flores and Mr. Peters,
16             Without Independently Verifying Their Accuracy ............................................................................. 9
               ii.        Mr. Schroyer Failed to Use Data that was Representative of the California Communities ... 13
17
               iii.       Mr. Schroyer Failed to Properly Validate His Model ............................................................ 15
18
               iv.  Mr. Schroyer’s Attempt to Measure “Care Time Omitted” Rather than Actual “Care
19             Omissions” Is Flawed and Unreliable............................................................................................... 21
               v.         Mr. Schroyer Used Varying Degrees of Granularity in his Model ........................................ 22
20
               vi.   Mr. Schroyer’s Use of the “Five Assessment” Matching Process Led to Thousands of
21             Residents and Days of Data Being Excluded from the Analysis ...................................................... 24
22             vii. Mr. Schroyer’s Calculation of “Average” Deficits Between the Available and Required Care
               Hours is Misleading and Unreliable ................................................................................................. 25
23
          B.          Opinion 2: Mr. Schroyer Misrepresents the Capabilities of a DES Model ........................ 25
24
     VIII.            CONCLUSION ......................................................................................................................... 26
25

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28                                                                                2
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 1      I.         INTRODUCTION
 2            4.     I was retained by Seyfarth Shaw LLP on behalf of Defendants Brookdale Senior Living
 3   Inc. and Brookdale Senior Living Communities, Inc. (“Defendants”) to review and analyze Mr. Lewis
 4   Dale Schroyer’s Discrete Event Simulation (“DES”) model. Specifically, I was asked to analyze
 5   whether Mr. Schroyer properly conducted a DES model study in accordance with accepted simulation
 6   engineering standards and practices.
 7      II.        QUALIFICATIONS

 8            5.     I am currently employed by the University of Illinois at Urbana-Champaign as Founder

 9   Professor of Engineering in the Department of Computer Science and Director of the Simulation and

10   Optimization Laboratory. I hold affiliate appointments in several departments, including Industrial and

11   Enterprise Systems Engineering, Electrical and Computer Engineering, Mathematics, and Statistics, as

12   well as the Carle Illinois College of Medicine. I have a Bachelor of Science and a Master of Science in

13   Mathematics from McGill University, and I completed my PhD dissertation in Discrete Event

14   Simulation (“DES”) output analysis at Cornell University. I have taught DES courses at multiple

15   education institutions almost every year since 1988. These are the type of courses that Mr. Dale

16   Schroyer could have taken as an undergraduate or master’s student.

17            6.     I have been involved in a number of complex litigation matters involving a range of

18   issues, including healthcare simulation that involved expert testimony on DES Modeling.

19            7.     I have published 198 peer-reviewed articles, 11 book chapters, 50 conference proceeding

20   papers, over 220 professional/editorial publications, and delivered over 510 presentations, seminars, and

21   posters at conferences, universities, and research laboratories around the world. I have made several

22   seminal research contributions, all focusing on applying operations research and advanced analytics to

23   address societal problems of national interest. My research has been widely reported and communicated

24   in the national press, including the Washington Post, the Chicago Tribune, the Los Angeles Times, and

25   the Boston Globe, editorialized in the New York Times, and discussed in Business Week, Forbes,

26   Kiplinger, and The Osgood Files on CBS radio. I have appeared on several television and radio

27   programs, including CNBC’s Street Signs and The Closing Bell, MSNBC’s Weekends with Alex Witt,

28                                                       3
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 1
     Washington Post Radio, CBS This Morning, and CBC Canada News (television and radio), and BBC
 2
     World News (television and radio).
 3
            8.      I have also been recognized with numerous awards for my research and professional
 4
     service, including the Saul Gass Expository Writing Award from the Institute for Operations Research &
 5
     the Management Sciences in 2020, the David F. Baker Distinguished Research Award from the Institute
 6
     of Industrial & Systems Engineers (Career Research Achievement Award) in 2017, the Best Research
 7
     Poster (First Place) at the Association of Program Directors in Internal Medicine (“APDIM”) Spring
 8
     2014 Conference, the Award for Technical Innovation in Industrial Engineering from the Institute of
 9
     Industrial Engineers (with E.C. Sewell) in 2010, a Guggenheim Fellowship in 2003, and as a finalist for
10
     the INFORMS Health Applications Section Pierskalla Best Paper Award in 2004 and 2007. I am an
11
     elected Fellow of the American Association for the Advancement of Science (AAAS, 2020), the
12
     Institute for Operations Research & the Management Sciences (INFORMS, 2013), and the Institute of
13
     Industrial & Systems Engineers (IISE, 2011).
14
            9.      I have served as a Committee Report reviewer for the National Academy of Medicine
15
     (“NAM”) (2020), on the Organizing Committee for the NAM Workshop: Medical Product shortages
16
     during Disasters: Opportunities to Predict and Prevent, and Respond (2018), a Committee Member of
17
     the NAM Standing Committee for the Centers for Disease Control and Prevention Division of Strategic
18
     National Stockpile (2015-2017), a Panelist on the World Technology Evaluation Center (WTEC) for an
19
     International Assessment of Rapid Vaccine Manufacturing Study Group (2006 to 2007 and 2009 to
20
     2010), a reviewer for a Centers for Disease Control and Prevention Panel Review (2006), a Participant
21
     in the NSF Healthcare Systems Engineering Workshop (2006), and an Associate Editor for the journal
22
     Operations Research for Health Care (2011 to 2012).
23
            10.     I have written numerous peer-reviewed research papers on simulation, healthcare, and
24
     public health, including, but not limited to, numerous papers on discrete event simulation and its
25
     application in the healthcare industry.
26
            11.     I have also written multiple peer-reviewed conference papers and key papers on
27
     numerous topics, including papers that surveyed sensitivity analysis in Discrete Event Simulation, a
28                                                       4
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 1
     paper that surveyed health care applications in Discrete Event Simulation with over 1140 citations in
 2
     Google Scholar, and a book chapter that surveyed health care applications in Discrete Event
 3
     Simulations.
 4
               12.     My full curriculum vitae is attached as Exhibit A and details my extensive experience in
 5
     the discrete event simulation, health care, and public health domains. Exhibit A is incorporated by
 6
     reference herein and includes a list of all other cases in which, during the previous 4 years, I testified as
 7
     an expert at trial or by deposition. My hourly rate for services rendered is $750 which is the rate I
 8
     customarily charge for both consulting and testimony.
 9
        III.         BACKGROUND OF LITIGATION
10
               13.     It is my understanding that thirteen (13) named Plaintiffs filed suit in federal court in the
11
     U.S. District Court for the Northern District of California on July 13, 2017, on behalf of themselves and
12
     three putative classes of residents who reside or resided at residential care communities for the elderly
13
     located in California. On behalf of one of these proposed classes of residents, Plaintiffs assert class-
14
     wide claims under the Consumer Legal Remedies Act and the California Elder Financial Abuse Act on
15
     the grounds that Defendants made alleged misrepresentations to residents about the staffing levels at the
16
     Communities and that Defendants allegedly failed to provide adequate staffing levels, thereby resulting
17
     in a “substantial risk of [residents] being denied care services on any given day.” Plaintiffs’ Motion for
18
     Class Certification at 1.
19
               14.     On August 18, 2021, Plaintiffs filed their Motion for Class Certification, seeking to
20
     certify three separate classes. In support thereof, Plaintiffs filed the Declaration of Lewis Dale Schroyer
21
     (“Mr. Schroyer”), who purports to support Plaintiffs’ class certification motion by conducting a Discrete
22
     Event Simulation (“DES”) model built using ProModel/MedModel software. Mr. Schroyer’s model was
23
     purportedly built on information received from Defendants, assumptions provided to him by his “subject
24
     matter expert” Dr. Cristina Flores, and data analyses performed by a Mr. William Blake Peters.
25
               15.     Based on this alleged DES model, Mr. Schroyer contends that “extensive DES testing
26
     and failure analysis conducted by MedModel of 6 Brookdale facilities reveal[ed]” that the “selected
27
     facilities” (the “Six Communities”) were (a) “systemically and significantly understaffed”, (b) that “on
28                                                           5
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 1
     average”, the communities omitted 41.5% of the care time required to deliver resident care, and (c) that
 2
     Brookdale’s staffing methodology does not account for the actual distances and amount of time staff are
 3
     required to travel in the communities each day to deliver care, “which on average requires 18.9% of the
 4
     time in a work day.” Schroyer Decl. at ¶ 31.
 5
        IV.         BACKGROUND OF DES MODELING
 6
              16.     George Box, the well-known British statistician, considered one of the great statistical
 7
     minds of the 20th century, famously stated that “All models are wrong. Some are useful.” This principle
 8
     remains true today. At its base, a simulation provides a tool to experiment with possible scenarios of a
 9
     real-world system under study (henceforth just labelled a system). A simulation model tries to imitate
10
     significant aspects of a system’s behavior. A model is, in essence, a simplified abstraction that
11
     embraces only the scope and level of detail needed to satisfy a study’s objectives.
12
              17.     A Discrete Event Simulation (“DES”) model is a data generator. When one uses a DES
13
     model, its role is to generate data that can be used to measure the performance of the system being
14
     modeled. If one wishes to make inferences from the model’s output about the system, a hypothesis must
15
     first be proposed and then tested. This is basic statistics.
16

17

18

19
              18.     A DES model requires a set of input parameters (or just inputs). These inputs are used to
20
     create streams of random variates that are fed into a DES model such that when the DES model is
21
     executed, the hope is that it mimics the behavior of the system that the DES model is built to capture.
22
     This relationship is contingent on the model being rigorously validated and the code rigorously verified.
23
     As the DES model is executed, it generates a stream of random variates that can be analyzed to assess
24
     the performance or condition of the system. This means that the output of a DES model execution is a
25
     function of the input parameters. Therefore, as the inputs are changed, the output will also change. It
26
     also means that if the inputs are flawed, the outputs will also be flawed in terms of the ability of a DES
27
     model to provide informative insights into the system.
28                                                         6
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 1
              19.      In general, DES models can provide general insights about real-world systems. Given
 2
     that DES models are abstractions of an actual system, DES models cannot capture every aspect of an
 3
     actual system. As such, this limitation on DES models means that unless the model is well-validated
 4
     with reliable inputs, it will have little to no usefulness in providing insights into the real-world system.
 5
     Any claims of high levels of precision and accuracy about system performance are misguided, though
 6
     people who conduct DES studies may be prone to overpromise in this regard.
 7
        V.          INFORMATION CONSIDERED IN FORMING MY OPINIONS
 8
              20.      In forming my opinions in this case about Mr. Schroyer’s DES Model, I relied upon the
 9
     following information:
10
                    a. Plaintiffs’ Third Amended Complaint dated February 15, 2019;
11
                    b. Plaintiffs’ Motion for Class Certification dated August 18, 2021;
12
                    c. Mr. Schroyer’s Declaration In Support of Plaintiffs’ Motion for Class Certification dated
13
                       August 18, 2021 (ECF No. 277-5) (the “Declaration”);
14
                    d. Dr. Flores’ Declaration In Support of Plaintiffs’ Motion for Class Certification dated
15
                       August 18, 2021;
16
                    e. Mr. Schroyer’s December 9, 2021 deposition testimony and documents referenced
17
                       therein; and
18
                    f. Dr. Flores’ December 6, 2021 deposition testimony and documents referenced therein.
19      VI.         SUMMARY OF OPINIONS
20            21.      Based on my professional experience, education, and training, as well as my review of
21   the documents provided to me in this matter, my opinions are as follows:
22                  a. Opinion 1: Mr. Schroyer did not follow the accepted steps in a DES study that are taught
23                     in basic courses on DES, thereby resulting in unreliable conclusions. Specifically:
24                          i. Mr. Schroyer relied on flawed inputs received from Dr. Flores and Mr. Peters
25                             without independently verifying their accuracy.
26                         ii. Mr. Schroyer failed to use data that was representative of the California
27                             communities.
28                                                          7
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 1
                        iii. Mr. Schroyer failed to properly validate his model.
 2
                        iv. Mr. Schroyer used a misleading measurement of “care time omitted” rather than
 3
                            actual “care omissions.”
 4
                         v. Mr. Schroyer used varying degrees of granularity in his inputs.
 5
                        vi. Mr. Schroyer’s use of the “Five Assessments” matching process led to thousands
 6
                            of residents and days of data being excluded from his analysis, making even his
 7
                            conclusions for the Six Communities unreliable.
 8
                       vii. Mr. Schroyer’s calculations of averages to measure the alleged deficient between
 9
                            available and required care hours is misleading and unreliable.
10
                  b. Opinion 2: Mr. Schroyer misrepresents the capabilities of a DES model.
11
        VII.      OPINIONS
12                A. Opinion 1: Mr. Schroyer Did Not Follow the Accepted Steps in a DES Study,
13                   Thereby Resulting in Unreliable Conclusions

14          22.      Based on my review of Mr. Schroyer’s Declaration, deposition testimony, and the

15   documents referenced therein, Mr. Schroyer failed to follow the accepted steps in a DES study. These

16   steps are: Problem Definition, Project Planning, System Definition, Model Formulation, Input Data

17   Collection and Analysis, Model Translation, Verification & Validation, Experimentation & Analysis,

18   and Documentation & Implementation. Indeed, Mr. Schroyer committed numerous errors that are

19   contrary to accepted simulation modeling and analysis practice. Examples include (a) improperly

20   relying on flawed inputs received from Dr. Flores and Mr. Peters without independently verifying their

21   accuracy, (b) failing to use data that was representative of the approximately 90 California communities,

22   (c) failing to properly validate his model as is required when creating DES models, (d) utilizing a

23   misleading measurement of “care time omitted” rather than actual “care omissions,” (e) using varying

24   degrees of granularity in the inputs, (f) using data that excluded thousands of residents and days, and (g)

25   relying only on averages, which fail to capture what is happening on a day-to-day basis. These critical

26   errors render any conclusions drawn from his DES model inaccurate and unreliable. In fact, if Mr.

27

28                                                        8
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 1
     Schroyer were a student in my DES modeling and analysis class, he would receive a failing grade for the
 2
     DES model that he created and analyzed in this matter.
 3
                           i.   Mr. Schroyer Improperly Relied on Flawed Inputs Received from Dr.
 4                              Flores and Mr. Peters, Without Independently Verifying Their Accuracy

 5            23.   DES modeling, like the one used in Mr. Schroyer’s study here, begins with a variety of

 6   inputs into the model. The software then provides a variety of outputs based on those inputs. Inputs are,

 7   therefore, key and necessarily will be determinative of the outputs. The key inputs for Mr. Schroyer’s

 8   analysis were (1) available staff time, (2) non-clinical staff time, (3) task times, and (4) the alleged

 9   service needs of the residents.

10            24.   It is crucial that the person conducting a DES study verify that the information being

11   input into the model is valid, reliable, and accurate. Indeed, it is the job of a competent, responsible, and

12   skilled DES simulator to challenge any data received from others to ensure that it is accurate,

13   reasonable, and valid. If the DES simulator does not challenge any data received, the DES simulator is

14   not exhibiting a level of professional competence. This, alone, can undermine the credibility of an entire

15   study.

16            25.

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26            26.   Mr. Schroyer’s peer-reviewed article on using DES in the skilled nursing context

27   likewise confirms these important principles. For instance, he and his co-authors reported that “DES

28                                                         9
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 1
     does not involve creating mock data or predicting theoretical outcomes.” John F. Schnelle, L. Dale
 2
     Schroyer, Avantika A. Saraf, Sandra F. Simmons, Determining Nurse Aide Staffing Requirements to
 3
     Provide Care Based on Resident Workload: A Discrete Event Simulation Model, Journal of the
 4
     American Medical Directors Association at 971 (2016) (ECF No. 350-6) (“Schnelle 2016”). They
 5
     further noted that DES is only useful if there is “accurate data about the required workload of a resident
 6
     population.” Id. And, they noted that “the advantage” of a DES analysis for conducting staffing
 7
     projections “is that all of the input variables can be adjusted to reflect the work processes of a specific
 8
     facility.” Id. at 976 (emphases added).
 9
             27.      These points noted by Mr. Schroyer are part of the steps in a DES study, so he is aware of
10
     them.
11
             28.      Yet, rather than apply the methods that he has used in the past and that he apparently
12
     understands, the inputs Mr. Schroyer used in his model were based on his seemingly blind reliance on
13
     the assumptions fed to him by Dr. Flores and Mr. Peters (i.e. task times, task frequencies, summaries of
14
     Defendants’ data).
15
             29.      Specifically, Mr. Schroyer relied on:
16
                   a. Dr. Flores’ decision to narrow the staff involved in providing care to four defined
17
                      categories – (1) Care Managers, (2) Medtechs, (3) LPNs, and (4) Care Directors
18
                      (Supervisors) – and exclude all employees who do not fall under her definitions of any of
19
                      these four categories. Schroyer Decl. at ¶ 46.
20
                   b. Dr. Flores’ assumptions about how long each individual task should take. Schroyer Decl.
21
                      at ¶ 51.
22
                   c. Dr. Flores’ assumptions about how frequently each individual task should occur over a
23
                      24-hour period. Schroyer Decl. at ¶¶ 55-56.
24
                   d. Dr. Flores’ assumptions regarding the schedules of care services and non-direct
25
                      care/administrative staff activities. Schroyer Decl. at ¶ 57.
26

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28                                                         10
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 1
                  e. Dr. Flores’ assumptions as to how to bundle services (i.e. the grouping together of
 2
                     certain care services that can provided simultaneously to a resident or residents).
 3
                     Schroyer Decl. at ¶ 58.
 4
                  f. Dr. Flores’ assumptions as to how the line-item behavioral interventions by staff should
 5
                     occur in the logic of the DES analysis. Schroyer Decl. at ¶ 59.
 6
                  g. Dr. Flores’ assumptions regarding the priority inputs to dictate which task should be
 7
                     completed first when a staff member is confronted with two different tasks at the same
 8
                     time. Schroyer Decl. at ¶ 60.
 9
                  h. Dr. Flores’ definition of each task’s care window – i.e. the time frame in which a care
10
                     service is required to be performed in the DES modeling (if the task is not performed by
11
                     the end of the care window, the task is deemed omitted). Schroyer Decl. at ¶ 61.
12
                  i. Dr. Flores’ assumptions regarding how much time the Community’s caregivers spend on
13
                     a variety of non-caregiving tasks and assumptions that caregivers will prioritize
14
                     nonclinical tasks over caregiving. Schroyer Decl. at ¶¶ 56-57; Schroyer Dep. 163:25 –
15
                     165:15.
16
            30.
17

18
         Instead, he blindly relied on the assumptions and decisions made by Dr. Flores. He did so even
19
     though he had data from which he could validate and/or corroborate her assumptions.
20

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                                    That alone, renders his DES model highly suspect, and his analysis and the
16
     associated conclusions unreliable.
17
            32.     Indeed, one of the inputs Mr. Schroyer relied on was the sequential assignment of
18
     residents to rooms in the community that did not take into account the individual needs of the residents.
19

20

21

22
                                                                                  This would likely lead to an
23
     unreliable output – an artificially inflated time for escorting assistance. This further illustrates the
24
     unreliability of his model.
25
            33.
26

27

28                                                         12
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 1
                                           Here, however, Mr. Schroyer did not rely on “objectively verifiable
 2
     inputs.” He did not rely on “clearly validated data.” He did not require that he be shown that the inputs
 3
     were valid or reasonable for his DES model. And he did not obtain data directly from any of the
 4
     communities he analyzed such that his inputs are reflective of the actual work environment of the
 5
     business being analyzed. Instead, his model was predicated almost exclusively on assumptions and
 6
     guesses made by Dr. Flores. That is not consistent with accepted DES standards, and it renders his DES
 7
     model invalid. It also renders any conclusions he derived from the model equally invalid and unreliable.
 8
     Indeed, Mr. Schroyer’s model is more a reflection of Dr. Flores’ and Mr. Schroyer’s assumptions about
 9
     the behavior of the system (i.e. how care is provided to residents) rather than the reality of how the
10
     system operates.
11
                          ii.   Mr. Schroyer Failed to Use Data that was Representative of the
12                              California Communities

13          34.     As set forth in Dr. Saad’s Declaration, sampling is a statistical procedure where a fraction

14   of data is taken from a large set of data, and the inference drawn from the sample is extended to the

15   whole group. Saad Decl. ¶ 79. Here, Mr. Schroyer failed to follow standard sampling principles when

16   selecting the Six Communities. That precludes him from reaching any conclusions about the other 84

17   communities that I understand fall within Plaintiffs’ class definition.

18          35.     As an initial matter, neither Mr. Schroyer nor Dr. Flores could provide a clear or

19   consistent explanation as to how the Six Communities were picked. Mr. Schroyer stated that that he

20   conducted his simulation only on days during a 3-year timeframe for which Defendants purportedly

21   produced completed or substantially complete data. Schroyer Decl. ¶ 76; see also

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                              This inconsistent and confusing testimony raises numerous questions about how the
 8
     Six Communities were selected.
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             36.
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                            In fact, the data he had for the Six Communities was determined to be less “complete”
12
     than the data provided for at least twelve (12) other communities (according the methods that were used
13
     for assessing the completeness of the data). Id.
14
             37.      In any event, even assuming that the communities were selected on the basis of
15
     substantially complete data, Mr. Schroyer’s explanation does not comport with the fundamentals of
16
     statistical sampling. If the Six Communities are indeed representative of all 90 California communities,
17
     the Six Communities must be selected using accepted random sampling principles. If not, the sample
18
     being tested may very well be biased and non-representative.
19

20
                                                                                               Given that Mr.
21
     Schroyer did not follow well-established sampling principles when selecting the Six Communities, the
22
     Six Communities are highly unlikely to be representative of the entire population of communities. This
23
     is basic statistics.
24
             38.      What is more, even assuming the Six Communities were chosen based on the most
25
     complete data available, using that as a basis for selecting the sample without further investigation into
26
     why that was the case would render the sample inherently biased and non-representative. Indeed, that
27
     does not constitute random sampling and it violates random sampling principles. Questions that have
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     not been answered by Plaintiffs and Mr. Schroyer, despite direct questions, include: Why did these Six
 2
     Communities have complete data using the methods Mr. Schroyer employed to evaluate the
 3
     completeness of the data? What features in these Six Communities resulted in complete data? Why is it
 4
     that the other communities did not have comparably complete data? Without investigating and
 5
     answering these questions, one cannot conclude that the sample is representative of any other
 6
     community.
 7
            39.     But even as to just the Six Communities, Mr. Schroyer’s data selection methods call into
 8
     question the reliance and applicability of his analyses. In particular, Mr. Schroyer excluded substantial
 9
     amounts of the data he had for the Six Communities.
10

11
                                                                             If the limited data that he used is
12
     not representative of the larger universe of data that he excluded, then it would not be reliable to use that
13
     data to reach conclusions even just as to the Six Communities themselves.
14
                         iii.   Mr. Schroyer Failed to Properly Validate His Model
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            40.     In any DES model study, it is critical that a simulator conduct adequate and appropriate
16
     validation of the model.
17
                                                               Yet, Mr. Schroyer failed to properly validate his
18
     DES model. This is yet another reason that the conclusions he drew are fundamentally unreliable.
19
                                        a) Mr. Schroyer failed to conduct an external validation of his
20                                         DES model.
21          41.     Where, as here, the system being modeled already exists, it is critical that a simulator

22   validate the model by comparing its outputs with the actual system. See Averill M. Law, How to Build

23   Valid Credible Simulation Models, 2009 Winter Simulation Conference, Dec. 13, 2009, at 24 (ECF No.

24   353-8) (“Law 2009”). This type of validation must be performed to ensure that the model is as close an

25   approximation to the actual system being analyzed. Indeed, the most definitive test of a simulation

26   model’s validity is establishing that its output data closely resembles the output data that would be

27   observed from the actual system.” Id. at 30; see also David M. Eddy, et. al, Model Transparency and

28                                                        15
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     Validation: A Report of the ISPOR-SMDM, Value in Health, 843, 845-46 (2012) (ECF No. 353-9)
 2
     (“Eddy 2012”); see also Eddy 2012 at 847-48 ([“E]xternal and predictive validation are critical as they
 3
     most closely correspond to the model’s purpose,” and they are “used throughout healthcare … and,
 4
     indeed, virtually every other scientific field.”). In this respect, the DES model must mimic the behavior
 5
     of existing system. If it does not, the model will not match the reality of actual system and therefore the
 6
     conclusions drawn from the DES model output will be unreliable. In performing this type of validation,
 7
     critical factors include “collect[ing] data on the performance of the existing system” and then comparing
 8
     the “simulation model output data for the system with the comparable output data collected from the
 9
     actual system.” See Law 2009, at 24, 27.
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            42.
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                                                            Any one of these methods would be a feasible way to
 3
     attempt external validation. But Mr. Schroyer made no effort to do so.
 4
              44.
 5
                                                                                                . Mr. Schroyer’s contention is
 6
     wrong and contradicts basic tenets of DES model validation. If one is using DES to make conclusions
 7
     about a system that actually exists, it is well-accepted that the model behavior must match the behavior
 8
     of the system being analyzed. Mr. Schroyer’s apparent attempt to excuse his failure to conduct the
 9
     requisite validation simply does not comport with accepted standards.
10
              45.      This is especially so given the extreme nature of his results.
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27   1
      It is my understanding that the specific dates displayed in the charts are representative of any given day in the identified
     community and were not “cherry-picked.”
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            46.     Indeed, when confronted with such extreme results, the need for external validation is all
 2
     the more critical. But Mr. Schroyer made no attempt to determine if that was the case before baldly
 3
     concluding that his model had generated accurate and reliable results.
 4
            47.     At bottom, Mr. Schroyer failure to conduct any external validation of his model renders
 5
     any conclusions derived from the model wholly unreliable.
 6
                                       b) Mr. Schroyer failed to conduct any “face validation” of his
 7                                        DES model.
 8          48.     A second critical type of DES validation is known as “face validity.” Face validity is the
 9   extent to which a model “correspond[s] to current science and evidence, as judged by people who have
10   expertise in the problem.” Eddy 2012, at 846. Thus, “people who have clinical expertise should evaluate
11   how well each model component reflects their understanding of the pertinent medical science, available
12   evidence, and the clinical or administrative question at issue.” Id. Stated otherwise, DES results should
13   be reviewed “for reasonableness. If the results are consistent with how they perceive the system should
14   operate, then the simulation model is said to have face validity.” Law 2009, at 27.
15          49.
16

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19                                                                                     . Apparently, he never
20   attempted to confirm his results with the “people who have clinical expertise,” as required for a valid
21   DES model. Eddy 2012, at 846. Of course, had he attempted to validate these findings with Dr. Flores,
22   he would have realized his model lacked facial validity.
23          50.
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                        Mr. Schroyer referred to this study at his deposition and was apparently directly
 4
     involved in it. His failure to validate his findings against the scientific evidence available to him further
 5
     undermines the reliability of his DES model and the associated conclusions.
 6
            51.
 7

 8
                                                        As with his findings on alleged care time omissions,
 9
     this is an extreme result that should certainly have called for further investigation and validation. His
10
     failure to do so only further underscores that he failed to follow the requisite methods required for any
11
     reliable and accurate DES study.
12
                                        c) Mr. Schroyer’s alleged validation efforts are insufficient under
13                                         accepted standards.

14          52.

15                                                                                Yet, that is merely one, less

16   important component of DES validation – known as “internal validity.” This type of validation involves

17   examining whether the calculations are performed correctly and are consistent with the model’s

18   specifications. All that does is “help[] to ensure there are no unintentional computation errors.” Eddy

19   2012 at 846. It “does not evaluate the accuracy of the model’s structure or predictions.” Id.

20          53.     What is more, Mr. Schroyer did not even conduct this internal validation correctly. As set

21   forth in Dr. Saad’s declaration, there are numerous mathematical and computational errors Mr. Peters

22   committed in creating the underlying databases on which Mr. Schroyer directly relied. Saad Decl. ¶ 109.

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              54.    Mr. Peters’ database containing the raw resident assessment data also contained critical
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     flaws.
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              55.
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                                                                                                Mr. Schroyer’s
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     failure to identify Mr. Peter’s numerous errors is indicative of that fact. At bottom, because the inputs
16
     Mr. Schroyer used in his model were contaminated by Mr. Peter’s errors, the outputs from his model are
17
     equally contaminated. That renders any conclusions drawn therefrom inaccurate and unreliable.
18
                         iv.    Mr. Schroyer’s Attempt to Measure “Care Time Omitted” Rather than
19                              Actual “Care Omissions” Is Flawed and Unreliable

20            56.   In a DES study, one must first define their objective (part of the Problem Formulation

21   step). The objective of Mr. Schroyer’s model was to estimate the time deficit between required and

22   available care hours. But that objective is inherently flawed where, as here, one is assessing whether a

23   community is providing adequate services to its residents or placing its residents at “a substantial and

24   ongoing risk for not receiving required services.” Schroyer Decl. ¶ 77. A flawed objective is prone to

25   misrepresent what is occurring in the actual system, by not correctly measuring what is needed to

26   capture the condition of the system.

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            57.      As an initial matter, DES can provide various types of “outputs” that go beyond merely
 2
     estimating the existence of time deficits. See, e.g., Sandra Simmons, et al., Managing Person-Centered
 3
     Dementia Care in an Assisted Living Facility: Staffing and Time Considerations, The Gerontologist,
 4
     2017 (ECF No. 353-10) (“Simmons 2017”); Schnelle 2016. Indeed, DES can provide “outputs” that
 5
     estimate deficits in actual care provided. By breaking down the care required by task type, resident, and
 6
     staff type, Mr. Schroyer could have used his model to estimate the percentage of each task type not
 7
     delivered to residents and the percentage of tasks not delivered by each staff type. This would be a
 8
     much more accurate measure of whether residents are at risk of being deprived or have been deprived of
 9
     necessary care.
10
            58.      Instead, Mr. Schroyer looked solely at total care time omissions. But that is far too
11
     simplistic under the circumstances and obfuscates how the system actually operates.
12

13

14
                  Under those circumstances, even though there appears to be a deficit between the required
15
     and available care time, residents are still receiving all the care needs they require. This demonstrates
16
     why one cannot simply use a blunt measure of “omitted care time” to opine on whether residents were
17
     deprived (or were at risk of being deprived) of necessary care services. That measurement is therefore an
18
     unreliable basis for the broad conclusions Mr. Schroyer reaches in his Declaration.
19
                          v.    Mr. Schroyer Used Varying Degrees of Granularity in his Model
20
            59.      Model granularity, or the level of detail that goes into a model, is a key attribute that
21
     results from how reality is abstracted into a model (part of the System Definition). Determining an
22
     appropriate granularity level for a particular purpose is a modelling choice that may have to be traded
23
     off with a number of other considerations.
24
            60.      When constructing a DES model, the more detail that is inputted, the more likely it is that
25
     a DES model could introduce errors into the output analysis. The more errors in the DES model input,
26
     the more likely the output also contains errors and the associated conclusions unreliable. Moreover,
27

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 1
     simultaneously using coarse and fine input data means that any errors in the model would be of differing
 2
     orders of magnitude.
 3
            61.     Here, Mr. Schroyer failed to apply a uniform level of granularity to his model. Instead, he
 4
     chose to use both coarse and fine input data. This not only introduces errors into his model, but it is
 5
     prone to introduce errors that are of differing orders of magnitude.
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            65.     The effect that variable granularity has on the model is that errors on coarse inputs will be
 4
     a different order of magnitude compared to the errors on fine inputs. The net effect of such mismatches
 5
     will percolate through to the output analysis, leading to the potential for inaccurate and unreliable
 6
     conclusions.
 7
                         vi.    Mr. Schroyer’s Use of the “Five Assessment” Matching Process Led to
 8                              Thousands of Residents and Days of Data Being Excluded from the
                                Analysis
 9
            66.     In conducting his DES analysis, Mr. Schroyer compared the census numbers reflected in
10
     a document known as the “Labor Detail Reports” with the “census numbers derived from active resident
11
     assessments.” Schroyer Decl. ¶ 42. If the comparison showed that either the assessment-derived census
12
     was higher than the census in the Labor Detail Reports or the census in the Labor Detail Reports was
13
     more than five (5) residents above the assessment-derived census, he excluded from his analysis all the
14
     data from that particular day. Id.
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            67.
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 1                        vii.   Mr. Schroyer’s Calculation of “Average” Deficits Between the Available
                                 and Required Care Hours is Misleading and Unreliable
 2
            69.       Mr. Schroyer purports to calculate “average” deficits between the available and required
 3
     care hours is misleading and unreliable. In particular, he states that one of his key findings is that “[o]n
 4
     average, the selected facilities omitted 41.5% of the care time required to deliver resident care.”
 5
     Schroyer Decl. ¶ 31. He also relied on an alleged “average shortfall of staff hours per day,” which was
 6
     predicated on comparing daily averages for available care hours with daily averages for required care
 7
     hours. Schroyer Decl. ¶¶ 88-89.
 8
            70.       Averages do not capture what is happening on a day-to-day basis. For example, a small
 9
     number of highly skewed data points can shift averages. Averages provide an overall assessment of a
10
     system, but do not capture particular instances. For example, a fair die with six sides labelled one to six
11
     has an average roll of 3.5. Yet a roll of 3.5 can never occur. Thus, it is critical that when one calculates
12
     and reports on averages, he or she must also calculate and report on confidence intervals and standard
13
     deviations to provide a more complete picture of the range of possibilities. Confidence intervals
14
     represent a range of values over which a true population parameter falls with a certain probability.
15
     Standard deviations are used to calculate confidence intervals, representing a measure of uncertainty in
16
     data. In the event of large standard deviations in a model’s output, DES can be used to track down the
17
     sources of those deviations, such as by building empirical distributions for the output data.
18
            71.
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        B. Opinion 2: Mr. Schroyer Misrepresents the Capabilities of a DES Model
23
            72.       Mr. Schroyer has blatantly misrepresented the capabilities of his DES model. As a
24
     person who has been involved in the field of simulation for over 30 years, I find this both disturbing and
25
     disappointing.
26
            73.
27
                                                                    To support his claim, Mr. Schroyer cites the
28                                                        25
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     error rate of the software – not the error rate of his DES modeling. Schroyer Decl. ¶ 73; Schroyer Dep.
 2
     39:23–40:12. In particular, he represents that the MedModel software has a known error rate of “one
 3
     times 10 to the minus 59th power.” Id. But Mr. Schroyer overstates the accuracies and capabilities of a
 4
     DES model. In reality, the error rate for his specific model depends on the inputs provided to the system
 5
     – it does not depend on the error rate of the software itself. Indeed, unless the DES model is simple (e.g.
 6
     a simple queue at a single store register), it is impossible to assess an error rate to a DES model. The
 7
     real question to be answered is: How useful is this model to providing insights to the system being
 8
     analyzed? Mr. Schroyer’s reliance on the software’s known error rate as support for his DES model’s
 9
     accuracy misrepresents the accuracy of his DES model.
10
            74.        Mr. Schroyer’s blatant misrepresentation about the capabilities of DES modeling is a
11
     stain on this profession. It also appears to be intended to mislead the trier of fact into believing that his
12
     model is extremely accurate. In reality, his model is only as accurate as the inputs into and the validity
13
     of the model. Here, as discussed, the inputs are wildly inaccurate for a variety of reasons, and its
14
     validity to capture the actual systems is highly suspect. His model and its output are likewise inaccurate
15
     and unreliable.
16
        VIII.          CONCLUSION
17
            75.        In conclusion, based on my analysis of the documents provided to me in this matter, Mr.
18
     Schroyer’s Declaration, Mr. Schroyer’s deposition testimony, and the analysis conducted by Dr. Saad, it
19
     is my professional opinion to a reasonable degree of certainty that Mr. Schroyer’s model is inaccurate
20
     and unreliable. Mr. Schroyer did not conduct a DES study and create a DES model in accordance with
21
     accepted standards, including because he (a) improperly relied on flawed inputs received from Dr.
22
     Flores and Mr. Peters without independently verifying their accuracy, (b) failed to use data that was
23
     representative of the California communities, (c) failed to properly validate his model, (d) used a flawed
24
     measurement of “care time omitted” rather than actual “care omissions”, (e) used varying degrees of
25
     granularity in his inputs, (f) excluded thousands of residents and days of data from his analysis, and (g)
26
     used misleading calculations of averages. In addition, Mr. Schroyer misrepresented the capabilities of a
27
     DES model. This renders the conclusions he generated from his model unreliable.
28                                                    26
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            76.     This Declaration is based on the information and documents that were made available to
 2
     me. I am in a position to render my opinion at this time based on such information and documents. I
 3
     reserve the right to revise or expand my expert opinion to reflect information acquired after the date of
 4
     this report or opinions expressed by other expert witnesses, if any, including, without limitation,
 5
     documentary evidence and testimony provided by Plaintiffs, underlying evidence provided by defense
 6
     counsel, or evidence that is introduced subsequent to this Declaration.
 7
            77.     I declare under penalty of perjury under the laws of California and the United States that
 8
     the foregoing is true and correct.
 9

10   Executed on March 3, 2022 in Urbana, Illinois.

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12                                                                        Sheldon H. Jacobson
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